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          [Department of               Commonwealth of Puerto Rico
          Corrections Insignia:       RIO PEDRAS CORRECTIONAL
          Commonwealth of            INSTITUTION CORRECTIONAL
          Puerto Rico DCR                   ADMINISTRATION
          Department of               Custodial Institution Annex 352
          Corrections and            P.O. Box 29087 San Juan, Puerto
          Rehabilitation]                    Rico 00929-0087


                                                               April 24 2007
                                                                    Date

          Ms. Ana I. Escobar
          Pabón
          Director
          Programs and
          Services
          Eastern Region

                                                              Re: Obel Cruz García
                                                              Inmate #: B7-35318 ,
                                                              1/106065
          Dear Ms. Escobar:

          The Ratings and Treatment Committee, during their meeting on April 25th 2007,
          agreed to submit a request for you to award 33 days of good conduct time for
          commendable services in interior maintenance, green areas, floor polisher from
          October 18th 2005 to September 18 2006 as the period of reference.

                           [Illegible signature]
          Thank you for your attention in the matter, we await your response.
                                            Cordially,
                                            [Illegible signature]
                                            CCT [Ratings and Treatment
                                            Committee] President




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          [Department of
          Corrections Insignia:
          Commonwealth of
          Puerto Rico DCR
          Department of
          Corrections and
          Rehabilitation]

                                  COMMONWEALTH OF PUERTO                      [Illegible word
                                     RICO INSTITUTION OF                      September 1
                                        CORRECTIONAL                          2009
                                       ADMINISTRATION                         10:00AM]
                                      Annex 292 Bayamón

          August 27th 2009

          Hon. Carlos Molina
          ADMINISTRATOR
          CORRECTIONS
          ADMINISTRATION

          Ms. Gladys Rivera
          HEAD OF PROGRAMS AND
          SERVICES
                            [Illegible
                            signature]
          Mr. Lefty Bortero [Illegible
          SUPERINTENDENT signature]

          Ms. Lidia García
          RATINGS AND TREATMENT
          COMMITTEE PRESIDENT

          GOOD CONDUCT TIME

          RE: Obel Cruz García
          CASE NUMBER 1-106065 B7-
          35318

          The client in reference was assigned to perform jobs including interior
          maintenance, painting, and green areas at annex 352 Río Piedras. He performed
          these tasks from October 19, 2005 to September 19, 2006. In accordance with
          the information provided by his immediate supervisor the client has satisfactorily
          complied with the rules and requirements in his work in terms of attendance,
          productivity, discipline and adjustment.




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          With the understanding that the use of prisoners for these labors is considered a
          commendable service that benefits the community and the correctional system,
          the Ratings and Treatment Committee agreed during their meeting on August 27,
          2009 to request 33 days of good conduct time from the Secretary of the
          Department of Corrections for the period ranging from October 19, 2005 to
          September 19, 2006.

          We thank you for your prompt attention in this matter.




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                               COMMONWEALTH OF PUERTO RICO
                                CORRECTIONS ADMINISTRATION
                                  INSTITUTION 292 Bayamón
                                        Bayamón, P.R.

                      RATINGS AND TREATMENT COMMITTEE AGREEMENTS

          A. Name of Prisoner     CRUZ GARCÍA OBEL
          B. Case Number B7-35318       Date of Meeting July 15, 2009
          C. Page number in Minutes Log Tome XXIII            Page 189
          D. Reason for presenting case           Institutional Evaluation Plan



          E. Members present:
                        Name                  Position       Signature
          1. [Illegible] García            President         [Signature of García]
          2. Mr. Modesto Sánchez           Caseworker        [Signature of Modesto Sánchez]
          3. Janet Colón                   Custody officer   [Signature of Janet Colón]

          F. Other members present




          G. Committee agreements The ratings and treatment committee agreed during__
          their meeting to grant seven additional days of good conduct time from June 19th
          __2009 to July 19th 2009 of the following year.

          H. Foundations for the agreements made For work in interior maintenance during
          the following year




          I. Were there dissident votes?          YES ( )        NO (X)

          J. Name, position, and signature of dissident members:

                        Name                 Position               Signature
          1.
          2.




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          K. Reasons for dissent



          Note: Be advised of your right to appeal the Ratings and Treatment Committee’s
          decision, you have ten (10) days from the receipt of this notice to appeal to the
          director of the Prisoner Classification Unit at the central level. In the case that
          you disagree with the decision made by the Director of Classification you have
          thirty (30) days to appeal before the Honorable Tribunal of the Court of Appeals,
          upon receiving said decision.

          Inmate’s signature:                        Delivered by: [Illegible signature]

          Date received:   July 15, 2009

          L. Would you like to appeal the CCT’s decision? YES ( ) NO ( )




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          Department of
          Corrections Insignia:
          Commonwealth of
          Puerto Rico DCR
          Department of
          Corrections and
          Rehabilitation]
                                     COMMONWEALTH OF PUERTO RICO
                                      CORRECTIONS ADMINISTRATION
                                        RIO PIEDRAS CORRECTIONAL
                                                  COMPLEX
                                     P.O. Box 29086 San Juan Puerto Rico,
                                                 00929-9986
                                                            DATE April 20 2007
          Ms. Lydia Santos
          Roldán
          Supervisor
          Social Unit
          Protective Custody
          Institution 352
                                                                  Represented by: Mr.
                                                                  Roberto DelValle Navarro
                                                                  Superintendent
                                                                  Protective Custody
                                                                  Institution 352

          Dear Mrs. Santos:

          By this means we are asking for good conduct time for commendable
          [underlined] work such as floor polishing [underlined], exterior and interior
          maintenance [underlined] and green areas [underlined].
          Name of prisoner as follows.                                                record
              1. Obel Cruz García__________________________                           offices
                                                                                      [illegible]
          This prisoner performs risky jobs and for this reason we are asking for among
          this good conduct time to compensate him for the effort that he makes others
          and by this means help create an example so that other prisoners will
          give their best.
                                          Sincerely,
                                              [Signature of Rafael Rodríguez]
                                             [Illegible] 1/[illegible number] 994
                                           Maintenance and Sanitation Manager
                                                          Annex 352
          Re: Request for
          good conduct time




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          [Department of           COMMONWEALTH OF PUERTO RICO            AC-PIP-
          Corrections              DEPARTMENT OF CORRECTION AND           1224
          Insignia:                       REHABILITATION                  “(Rev. 12-
          Commonwealth                 SAN JUAN, PUERTO RICO              87)”
          of Puerto Rico
          DCR
          Department of
          Corrections
          and
          Rehabilitation]

                                 NOTICE OF SENTENCE COMPLETION DATE
                                               CHANGE

          Name:          CRUZ GARCIA OBEL          Inmate         B7-35318
                                                   number:
          Sentence: 16 years- 0 months
          Offense:  KIDNAPPING
          Maximum Sentence: 9/11/2009             New End of Sentence:   04/09/2009
          Minimum Sentence:                       New End of Sentence:

          Reason: Granted 65 days from August 19, 2005 to October 19, 2008 for good
          conduct.




                      4/9/2009                Signature of Alexander Salcedo
                        Date              Superintendent or Records Manager
                                         Maximum Security Annex Bayamón (292)
                                                       Institution
          cc: Central Records
          Division
          Board of Parole
          Socialwork Unit
          Client
                                                                          Page 1 of 1




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          [Seal of             COMMONWEALTH OF PUERTO RICO
          Puerto Rico’s           BAYAMON INSTITUTION 448
          Department of
          Correction
          and
          Rehabilitation]

          December 17, 2010

          Nephtalí Rodríguez Lugo
          Security Office
          Eastern Region

          [Illegible
          Signature]

          Víctor J Bermúdez Álvarez
          Corrections Officer 1
          Grievances Office
          Bayamón 448

          Subject: Inmate Obel J Cruz
          García

          I, Víctor J Bermúdez Álvarez, certify that the inmate Obel J Cruz García did not
          have any disciplinary complaints in Institution 208 and 448 from October 31,
          2005 to November 03, 2008, when he was transferred to another institution.




                             Providing Security, Promoting Rehabilitation
                              BAYAMON CORRECTIONAL COMPLEX




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          [Department of         COMMONWEALTH OF PUERTO RICO
          Corrections           DEPARTMENT OF CORRECTIONS AND
          Insignia:                     REHABILITATION
          Commonwealth of      CORRECTIONAL INSTITUTION ANNEX 292,
          Puerto Rico DCR                  BAYAMON
          Department of             INMATE DISCIPLINE OFFICE
          Corrections and
          Rehabilitation]

          December 17, 2010


          [Illegible signature]
          Carlos Rodríguez del Valle
          Deputy Chief
          Annex 292 Bayamón

          [Signature of Nelson Álvarez]
          11266
          Corrections Officer Nelson
          Álvarez
          Grievances Officer
          Correctional Institution
          Annex 292 Bayamón


          RE: OBEL J CRUZ GARCIA
          SS596-41-4898

          FORMER MEMBER OF THE CORRECTIONAL
          POPULATION


                                             CERTIFICATION

          I, Nelson Álvarez, Badge # 11266, Grievances Officer of the Correctional Institution
          Annex 292 Bayamón, certify that after reviewing the grievances log I have found no
          complaints filed against the member of the prison population in reference from
          2005 to the present; December 17, 2010.




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          [Seal of                         COMMONWEALTH OF
          Puerto Rico’s                      PUERTO RICO
          Department of                   BAYAMON INSTITUTION
          Correction                             448
          and
          Rehabilitation]

          December 17, 2010

          Nephtalí Rodríguez Lugo
          Security Office
          Eastern Region

          [Illegible Signature]
          Maribel Colon Miranda
          Correctional Officer 1
          Grievances Office
          Bayamón 1072

          Subject: Inmate Obel J Cruz García

          I, Maribel Colon Miranda, certify that the above-mentioned inmate did not have
          any disciplinary complaints during the period of time that he was at our institution.



                              Providing Security, Promoting Rehabilitation
                               BAYAMON CORRECTIONAL COMPLEX




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          [Seal of
          Puerto Rico’s
          Department of
          Correction
          and
          Rehabilitation]
          Headquarters

          December 17, 2010

          TO WHOM IT MAY CONCERN:

          A SEARCH HAS BEEN DONE OF THE COMPLAINT LOGS AND RECORDS
          WHICH RESULTED IN NO REFERENCES TO DISCIPLINARY COMPLAINTS
          FILED AGAINST INMATE OBEL J CRUZ GARCIA IN THIS INSTITUTION,
          BAYAMON PROCESSING CENTER 705.

          [Signature of Ana I León]
          Officer: Ana I León




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          09/02/2009          15:36        7877785757       SOCIAL 300      PAGE 01

                              69
          [Department of              PROGRAMS AND SERVICES
          Corrections                    EASTERN REGION
          Insignia:
          Commonwealth of
          Puerto Rico DCR
          Department of
          Corrections and
          Rehabilitation]


          September 2, 2009

          Lydia García Gil del Rubio
          President
          Classification and Treatment
          Committee
          Annex 292 Bayamón

          Re: OBEL CRUZ GARCIA
          Inmate Number: 1-106065-B7-
          35318

          Ms. García:

          By the authority vested in the Corrections Administrator by Law 116 from July
          22, 1974, subsequently amended and in conformance with the Committee of
          Classification and Treatment’s August 27, 2009 recommendation, we authorize
          that the inmate in reference will be awarded 33 days of good conduct time for the
          provision of exceptionally commendable services by completing jobs in: interior
          maintenance / green areas.

          The period to be credited covers from: October 19, 2005 to September 19,
          2006.

          Please proceed to award the total number of authorized days.

          NOTE: The Supervisor should confirm that the good conduct time
          requested corresponds with the date that the inmate was sentenced. In the
          case of error and release of the inmate, disciplinary actions may be taken.

          Cordially,
          [Signature of Gladys Rivera Correa]




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          Gladys Rivera Correa
          Regional Director
          Programs and Services
          Eastern Region

          GRC/MCC/art.

          Received on September 2, 2009 3:33PM Nº1028




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          [Department of             PROGRAMS AND SERVICES
          Corrections                   EASTERN REGION
          Insignia:
          Commonwealth of
          Puerto Rico DCR
          Department of
          Corrections and
          Rehabilitation]


          August 16, 2007                                                    [Illegible
                                                                             numbers
                                                                             written on
                                                                             page]

          Lydia Santos Roldan                                                [Casework
          President                                                          unit receipt
          Classification and Treatment                                       stamp]
          Committee
          Annex 352 Río Piedras Complex                                      August 29,
                                                                             2007 A 8:




          Re: Cruz García, Obel
          Inmate Number: 1-106065-B7-
          35318

          Ms. Santos:

          By the authority vested in the Corrections Administrator by Law 116 from July
          22, 1974, subsequently amended and in conformance with the Committee of
          Classification and Treatment’s April 20, 2007 recommendation, we authorize
          that the inmate in reference will be awarded 6 days of good conduct time for the
          provision of exceptionally commendable services by completing jobs in:
          Authority of Labor and Training Enterprises [CEAT].

          The period to be credited covers from: March 19, 2007 to May 19, 2007.

          Please proceed to award the total number of authorized days.

          Cordially,
          [Signature of Juan Ortiz Estrada]
          Juan Ortiz Estrada




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          Regional Supervisor
          Programs and Services
          Eastern Region

          ART.




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          09/02/2009           15:36       7877785757       SOCIAL 308      PAGE 02

          [Department of               PROGRAMS AND SERVICES
          Corrections                     EASTERN REGION
          Insignia:
          Commonwealth of
          Puerto Rico DCR
          Department of
          Corrections and
          Rehabilitation]


          September 2, 2009

          Lydia Santos Roldan
          President
          Classification and Treatment
          Committee
          Annex 352 Río Piedras


          Re: OBEL CRUZ GARCIA
          Inmate Number: 1-106065-B7-
          35318

          Ms. Santos:

          By the authority vested in the Corrections Administrator by Law 116 from July
          22, 1974, subsequently amended and in conformance with the Committee of
          Classification and Treatment’s March 20, 2007 recommendation, we authorize
          that the inmate in reference will be awarded 18 days of good conduct time for the
          provision of exceptionally commendable services by completing jobs in:
          Authority of Labor and Training Enterprises (upholstery).

          The period to be credited covers from: September 19, 2006 to March 19, 2007.

          Please proceed to award the total number of authorized days.

          NOTE: The Supervisor should confirm that the good conduct time
          requested corresponds with the date that the inmate was sentenced. In the
          case of error and release of the inmate, disciplinary actions may be taken.

          Cordially,




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          Signature of Gladys Rivera
          Correa
          Gladys Rivera Correa
          Regional Director
          Programs and Services
          Eastern Region

          GRC/MCC/art.

          Received on September 2, 2009 3:33PM Nº1028




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          [Illegible letters]
          [Department of            PROGRAMS AND SERVICES                   [Casework
          Corrections                  EASTERN REGION                       unit receipt
          Insignia:                                                         stamp]
          Commonwealth
          of Puerto Rico                                                    September
          DCR                                                               11, 2007 P
          Department of                                                     2:03
          Corrections
          and
          Rehabilitation]


          August 29, 2007

          Maria Alicea
          President
          Classification and Treatment
          Committee
          Protective Custody Institution
          352 Río Piedras

          Re: Cruz García Obel
          Inmate number: 1-106065

          Ms. Alicea:

          By the authority vested in the Corrections Administrator by Law 116 from July
          22, 1974, subsequently amended and in conformance with the Committee of
          Classification and Treatment’s August 9, 2007 recommendation, we authorize
          that the inmate in reference will be awarded 6 days of good conduct time for the
          provision of exceptionally commendable services by completing jobs in:
          Authority of Labor and Training Enterprises.

          The period to be credited covers from: May 19, 2007 to July 19, 2007.

          Please proceed to award the total number of authorized days.

          Cordially,
          Signature of Juan Ortiz Estrada
          Juan Ortiz Estrada
          Regional Supervisor
          Programs and Services
          Eastern Region




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          /Art.




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          [Department of           PROGRAMS AND SERVICES
          Corrections                 EASTERN REGION
          Insignia:
          Commonwealth
          of Puerto Rico
          DCR
          Department of
          Corrections
          and
          Rehabilitation]


          June 24, 2008

          Daysi Meléndez Montes
          President
          Classification and Treatment
          Committee
          Bayamón Processing Center
          308

          RE: OBEL CRUZ GARCIA
          INMATE #: B7-35318

          Ms. Meléndez:

          By the authority vested in the Corrections Administrator by Law 116 from July
          22, 1974, subsequently amended and in conformance with the Committee of
          Classification and Treatment’s March 6, 2008 recommendation, we authorize
          that the inmate in reference will be awarded 18 days of good conduct time for the
          provision of exceptionally commendable services by completing jobs in:
          Upholstery in Authority of Labor and Training Enterprises.

          The period to be credited covers from: July 19, 2007 to January 19, 2008.

          Please proceed to award the total number of authorized days.

          Cordially,
          Signature of Ana I. Escobar
          Pabon
          Ana I. Escobar Pabon
          Director
          Programs and Services
          Eastern Region
          /art.




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          09/02/2009          15:36        7877785757       SOCIAL 308      PAGE 03

          [Department of               PROGRAMS AND SERVICES
          Corrections                     EASTERN REGION
          Insignia:
          Commonwealth of
          Puerto Rico DCR
          Department of
          Corrections and
          Rehabilitation]


          September 2, 2009

          Gladys Cordero
          President
          Classification and Treatment
          Committee
          Bayamón 308

          Re: OBEL CRUZ GARCIA
          Inmate Number: 1-106065-B7-
          35318

          Ms. Cordero:

          By the authority vested in the Corrections Administrator by Law 116 from July
          22, 1974, subsequently amended and in conformance with the Committee of
          Classification and Treatment’s October 20, 2008 recommendation, we authorize
          that the inmate in reference will be awarded 18 days of good conduct time for the
          provision of exceptionally commendable services by completing jobs in:
          Upholstery in Authority of Labor and Training Enterprises (upholstery).

          The period to be credited covers from: January 19, 2008 to October 19, 2008.

          Please proceed to award the total number of authorized days.

          NOTE: The Supervisor should confirm that the good conduct time
          requested corresponds with the date that the inmate was sentenced. In the
          case of error and release of the inmate, disciplinary actions may be taken.

          Cordially,
          Signature of Gladys Rivera
          Correa
          Gladys Rivera Correa




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          Regional Director
          Programs and Services
          Eastern Region

          GRC/MCC/art.

          Received on September 2, 2009 3:33PM Nº1028




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                        CERTIFICATION OF CATALINA IANNONE

        I, Catalina Iannone, state and declare as follows:

            1. My name is Catalina Iannone. I currently live in Austin, Texas. I am
                fluent in both English and Spanish.
            2. I am currently a Ph.D. candidate in Spanish and Portuguese Languages
                and Cultures at the University of Texas at Austin. I expect to receive my
                Ph.D. in 2017. I received both a B.A. and a Master’s degree in Spanish
                Language and Literature from New York University, where all of my
                courses were conducted in Spanish. I hold citizenship in both the United
                States and Argentina and am considered a heritage Spanish speaker. I
                have spent three years living in Spain, part of which included completing
                courses at the Universidad Autónoma in Madrid.           As a part of my
                Master’s I completed a course in Spanish/English translation.           The
                following year I worked at a bilingual elementary school. I have also
                served as an assistant instructor of Spanish language and literature
                courses at the University of Texas. I am able to speak, read, and write in
                Spanish proficiently.
            3. I work independently as a freelance translator.          As a part of this
                operation, I oversee a team of translators who work as contractors
                providing translation services. In July 2015, I w a s retained by the
                O f f i c e o f C a p i t a l W r i t s ( OCW) to translate several pages of
                Spanish-language documents into English.
            4. The    attached    documents are the English- language documents my
                team and I translated from the Spanish-language documents provided
                to me by the OCW. The Spanish-language versions of the documents
                are also here attached.



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            5. I declare under penalty of perjury under the laws of the State of Texas
                that the      English-language   documents    are   a true   and   correct
                translation      of   the   Spanish-language documents that I originally
                received.




                                                       Catalina Iannone




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